 

CASE H09-6F- OF 080-DSF Document 46 Filed 02/06/06 Page 1of1 Page ID #:184

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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CRIMINAL MINUTES - ARRAIGNMENT =
at
Case Number: 2:05CR1046(A) Recorder: CS. 2/6/06 Date: 02/06/2006 ,
Present: The Honorable Stephen J. Hillman, U.S. Magistrate Judge
Court Clerk: Maria Cortez Assistant U.S. Attorney: Daniel Saunders & Kevin
Lally
United States of America v. Attorney Present for Defendant Language Interpreter
(s)
1. ANTHONY PELLICANO Steven F. Gruel
Writ-Custody - Present RETAINED

PROCEEDINGS: ARRAIGNMENT OF DEFENDANT(S) AND ASSIGNMENT OF CASE.
Defendant is arraigned and states true name is as charged .

- Defendant is given a copy of the Second Superseding Indictment, acknowledges receipt of a copy and
waives reading thereof.

Defendant pleads not guilty to all counts of the Second Superseding Indictment.

Court orders this case assigned to the calendar of U.S. District Judge S. James Otero for/and further
orders jury trial set for April 4, 2006 at 9:00 am. Defendant and his/her counsel are ordered to appear
before said judge at the date and time indicated.

Other:COMPLEX CASE. Court grants counsel request to unseal the entire case. It is so ordered. The
discovery order will be issued by Judge Otero. Counsel are advised to also review the discovery
order on the court's website for updates and modifications.

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Initials of me
Deputy .

cc: PSA, Statistics Clerk, USM LA

 
